Case 6:19-cr-00183-RRS-CBW Document 36 Filed 01/23/20 Page 1 of 1 PageID #: 273



                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                                LAFAYETTE DIVISION


 To:            All Counsel of Record

 Issued By:     Judge Robert R. Summerhays

 Re:            United States of America v. Holden James Matthews
                Criminal Action No. 6:19-cr-183

 Date:          January 23, 2020


                                        MINUTE ENTRY

         A change of plea hearing in the above-referenced matter is SET on Monday, February 10,

 2020 at 11:00 a.m.
